                Case:
ILND 450 (Rev. 10/13)    1:18-cv-02919
                      Judgment in a Civil Action   Document #: 46 Filed: 09/28/18 Page 1 of 1 PageID #:148

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS


Jeff Berg,
Plaintiff(s),
                                                                    Case No 18-cv-2919
v.                                                                  Judge Robert W. Gettleman


Ulmer & Berne, LLP, et al.
Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                              in favor of plaintiff(s)

                    and against defendant(s)
                    in the amount of $

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)

          Defendant(s) shall recover costs from plaintiff(s).


               other: Motion to dismiss federal claims for failure to state a claim is granted. Court declines to
exercise supplemental jurisdiction over the remaining counts. Case dismissed.

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Robert W. Gettleman on a motion.

Date: 9/28/2018                                                  Thomas G. Bruton, Clerk of Court

                                                                 Claire Newman , Deputy Clerk
